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                                                                                           2021 May-28 PM 06:41
                                                                                           U.S. DISTRICT COURT
                                                                                               N.D. OF ALABAMA


                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ALABAMA
                             SOUTHERN DIVISION

 IN RE BLUE CROSS BLUE SHIELD                      :
 ANTITRUST LITIGATION                              : Master File 2:13-cv-20000-RDP
 MDL 2406                                          :
                                                   : This document relates to
                                                   : Subscriber Track cases
                                                   :

              SUBSCRIBERS COUNSEL’S MOTION FOR APPROVAL
           OF THEIR ATTORNEYS’ FEES AND EXPENSES APPLICATION

       Counsel for the Subscriber Plaintiffs (“Subscribers Counsel”) hereby move this Court for

an order: (1) awarding attorneys’ fees in the amount of $626,583,372.10 and (2) awarding reim-

bursement of costs and expenses in the amount of $40,916,627.90. In support of this motion, Sub-

scribers Counsel herewith concurrently submit a Memorandum of Law with supporting exhibits.

Dated: May 28, 2021                                  Respectfully Submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 28, 2021, the foregoing Subscriber Plaintiffs’ Motion for Pre-

liminary Approval of Proposed Class Settlement was filed with the Clerk of the Court and served

on counsel of record via ECF.

                                              /s/ Michael D. Hausfeld
                                            Michael D. Hausfeld




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